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 7   Attorneys for Plaintiffs
 8                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 9
     THERESA SWEET, ALICIA DAVIS, TRESA                    Case No.: 19-cv-03674-WHA
10
     APODACA, CHENELLE ARCHIBALD,
11   DANIEL DEEGAN, SAMUEL HOOD, and
     JESSICA JACOBSON on behalf of themselves              DECLARATION OF REBECCA C.
12   and all others similarly situated,                    ELLIS, ESQ.
13                  Plaintiffs,
14
                    v.
15
     MIGUEL CARDONA, in his official capacity
16   as Secretary of the United States Department of
     Education, and
17

18   THE UNITED STATES DEPARTMENT OF
     EDUCATION,
19
                    Defendants.
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     ELLIS DECLARATION                                 1                Case No.: 19-cv-03674-WHA
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 1   I, Rebecca C. Ellis, state as follows:

 2             1. I am an attorney in the Project on Predatory Student Lending at the Legal Services Center

 3   of Harvard Law School. This office has been appointed to represent the certified class in this

 4   action.

 5             2. I am a member of good standing in the State Bar of Massachusetts and I have been

 6   granted permission to practice pro hac vice before the Northern District of California in this matter.

 7             3. I submit this declaration in support of Plaintiffs’ Motion for Summary Judgment.

 8             4. Attached hereto are true and correct copies of the following documents:

 9

10     Exhibit         Bates, AR, or ECF                     Document Title / Identifier
                       Reference (where
11                        applicable)
12         1            DOE2144–2147          Memorandum from James Manning to Secretary
                                              Elisabeth DeVos, Subject: Action Items on Borrower
13                                            Defense (dated May 4, 2017)
14         2               AR496–537          U.S. Dep’t of Educ. Office of Inspector General,
                                              “Federal Student Aid’s Borrower Defense to Repayment
15                                            Loan Discharge Process” (dated Dec. 8, 2017)
16         3                    -             Deposition of Mark Brown (excerpts)

17         4                    -             Deposition of Colleen Nevin (excerpts)
           5            DOE9509–9518          Federal Student Aid presentation, “Borrower Defense to
18
                                              Repayment” (dated Aug. 21, 2019)
19         6            DOE7209–7214          Detailed Briefing: Borrower Defense and 2016 Rule –
                                              Corinthian Colleges (CCi) and ITT Technical Institute
20
                                              (ITT) (undated)
21         7           DOE13647–13656         Memorandum from Diane Auer Jones and Mark Brown
                                              to Secretary Elisabeth DeVos, Subject: Request to
22
                                              Implement a New, Tiered-Relief Methodology to
23                                            Adjudicate Current and Future BD Claims (dated Nov.
                                              12, 2019)
24
           8                    -             Deposition of Diane Auer Jones (excerpt)
25         9                    -             Video of Secretary DeVos’s Remarks at Mackinac
                                              Conference, Sept. 2017; available at
26                                            https://perma.cc/XQ6L-NR9Q
27        10            DOE7289–7291          Borrower Defense to Repayment (Diane Auer Jones
                                              talking points) (undated)
28

     ELLIS DECLARATION                                  2                  Case No.: 19-cv-03674-WHA
        Case 3:19-cv-03674-WHA      Document 245-5       Filed 06/09/22     Page 3 of 7



 1    Exhibit   Bates, AR, or ECF                 Document Title / Identifier
                Reference (where
 2                 applicable)
 3      11              -           Defendants’ Responses and Objections to Plaintiffs’ First
                                    Set of Interrogatories (excerpt), attaching document
 4                                  “How to Review a Borrower Allegation in a One-Off or
                                    Small Batch Application” (undated)
 5
        12              -           Press Release, U.S. Dep’t of Educ., “Department of
 6                                  Education Announces Action to Streamline Borrower
                                    Defense Relief Process” (Mar. 18, 2021), available at
 7
                                    https://www.ed.gov/news/press-releases/department-
 8                                  education-announces-action-streamline-borrower-
                                    defense-relief-process
 9
        13         ECF 129-1        Affidavit of Theresa Sweet (dated Aug. 16, 2020)
10      14       DOE7269–7271       Institutional Accountability Regulations (Formerly
                                    Called the Borrower Defense to Repayment Regulations)
11
                                    – Full Talking Points (undated)
12      15              -           Borrower Defense Quarterly Report for Quarter End
                                    12/31/2021, available at https://studentaid.gov/data-
13
                                    center/student/loan-forgiveness/borrower-defense-data
14      16              -           Press Release, U.S. Dep’t of Educ., “Department of
                                    Education Announces Approval of New Categories of
15
                                    Borrower Defense Claims Totaling $500 Million in Loan
16                                  Relief to 18,000 Borrowers” (June 16, 2021), available
                                    at https://www.ed.gov/news/press-releases/department-
17                                  education-announces-approval-new-categories-borrower-
                                    defense-claims-totaling-500-million-loan-relief-18000-
18                                  borrowers
19      17              -           Press Release, U.S. Dep’t of Educ., “Department of
                                    Education Approves Borrower Defense Claims Related
20                                  to Three Additional Institutions” (July 9, 2021),
                                    available at https://www.ed.gov/news/press-
21
                                    releases/department-education-approves-borrower-
22                                  defense-claims-related-three-additional-institutions
        18              -           Press Release, U.S. Dep’t of Educ., “Education
23
                                    Department Approves $415 Million in Borrower Defense
24                                  Claims Including for Former DeVry University
                                    Students” (Feb. 16, 2022), available at
25                                  https://www.ed.gov/news/press-releases/education-
                                    department-approves-415-million-borrower-defense-
26                                  claims-including-former-devry-university-students
27      19              -           Press Release, U.S. Dep’t of Educ., “Education
                                    Department Approves $238 Million Group Discharge for
28

     ELLIS DECLARATION                       3                 Case No.: 19-cv-03674-WHA
        Case 3:19-cv-03674-WHA      Document 245-5      Filed 06/09/22     Page 4 of 7



 1    Exhibit   Bates, AR, or ECF                 Document Title / Identifier
                Reference (where
 2                 applicable)
 3                                  28,000 Marinello Schools of Beauty Borrowers Based on
                                    Borrower Defense Findings” (Apr. 28, 2022), available
 4                                  at https://www.ed.gov/news/press-releases/education-
                                    department-approves-238-million-group-discharge-
 5
                                    28000-marinello-schools-beauty-borrowers-based-
 6                                  borrower-defense-findings
        20              -           Borrower Defense to Repayment Loan Forgiveness Data
 7
                                    – September 2019, available at
 8                                  https://studentaid.gov/datacenter/student/
                                    loanforgiveness/borrower-defense-data
 9
        21              -           Press Release, U.S. Dep’t of Educ., “Education
10                                  Department Approves $5.8 Billion Group Discharge to
                                    Cancel All Remaining Loans for 560,000 Borrowers
11                                  Who Attended Corinthian” (June 1, 2022),
                                    https://www.ed.gov/news/press-releases/education-
12                                  department-approves-58-billion-group-discharge-cancel-
                                    all-remaining-loans-560000-borrowers-who-attended-
13
                                    corinthian-colleges
14      22          DOE9291         Approval Rates (undated)
15      23       DOE8841–8843       Memorandum from Colleen Nevin to Mark Brown,
                                    Robin Minor, and Jeff Appel, Subject: Borrower Defense
16                                  Quality Control Procedures (dated Aug. 18, 2019)
17      24          DOE6974         Excerpt from spreadsheet, Tab C – “Adjudication”
18      25         ECF 108-3        Affidavit of Alison Wright (dated Aug. 20, 2020)
        26       DOE8693–8694       Borrower Defense Claim Review Productivity
19
                                    Requirements, Incentives and Support Plan – 2020
20      27       DOE6206–6508       Training Binder: Borrower Defense to Repayment July
                                    2019
21
        28       DOE6016–6022       Borrower Defense Unit Claims Review Protocol (dated
22                                  Sept. 5, 2018)
23      29         ECF 140-1        Declaration of Mark A. Brown (dated Oct. 1, 2020)

24      30         AR494–495        Standard Protocol (undated)
        31          ECF 151         Affidavit of Corey DePaul (dated Oct. 29, 2020)
25
        32              -           Borrower Defense to Repayment Application, OMB
26                                  1845-0163
27      33              -           Borrower Defense to Repayment Application, OMB
                                    1845-0146
28

     ELLIS DECLARATION                       4                 Case No.: 19-cv-03674-WHA
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 1    Exhibit   Bates, AR, or ECF                 Document Title / Identifier
                Reference (where
 2                 applicable)
 3      34          ECF 155         Affidavit of Jennifer Lezan
 4      35       DOE4321–4322       Borrower Defense – Summary of Notice to Schools
                                    Process (undated)
 5
        36          ECF 159         Affidavit of Rebekah Norton
 6      37              -           Defendants’ Supplemental Responses and Objections to
                                    Plaintiffs’ First Set of Interrogatories (dated Jan. 14,
 7
                                    2021)
 8      38              -           Letter from James W. Runcie, Chief Operating Officer of
                                    Federal Student Aid, to Sharon Mar, Office of
 9
                                    Information and Regulatory Affairs, Subject: Emergency
10                                  Clearance of Information Collection to Allow for Receipt
                                    of Borrower Defense to Repayment Loan Discharge
11                                  Claims (dated June 4, 2015)

12      39         ECF 108-11       Affidavit of Jessica Jacobson (dated Aug. 2020)
        40          DOE6186         Borrower defense status data (excerpt)
13
        41      DOE10647–10649      Initial Review of Medium Batch Applications:
14                                  Davenport University (dated July 1, 2019)
15      42      DOE12560–12561      Initial Review of Medium Batch Applications: Southwest
                                    University (dated Oct. 11, 2019)
16
        43      DOE12388–12389      Initial Review of Medium Batch Applications: San
17                                  Diego College / Career College of San Diego (dated Oct.
                                    10, 2019)
18
        44       DOE2528–2529       Memorandum from Erin Conroy to Colleen Nevin,
19                                  Subject: Borrower Defense Unit Investigation of
                                    Charlotte School of Law Prior to 2015 (dated May 12,
20                                  2020)
21      45       DOE4316–4320       Summary of Information Requested by Diane Regarding
                                    Loan Discharges Pursuant to 2016 Regulation (undated)
22
        46       DOE9399–9412       Memorandum from Borrower Defense Unit to Under
23                                  Secretary Ted Mitchell, Subject: Recommendation for
                                    ITT Borrowers Alleging That They Were Guaranteed
24                                  Employment – California Students (dated Jan. 10, 2017)
25      47      DOE13704–13707      Elements of the UCL Applied to Heald Borrowers (dated
                                    May 14, 2015)
26
        48      DOE13708–13725      Memorandum from Borrower Defense Unit to Under
27                                  Secretary Ted Mitchell, Subject: Recommendation for
                                    Borrower Defense Relief for Heald College Borrowers
28

     ELLIS DECLARATION                       5                    Case No.: 19-cv-03674-WHA
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 1    Exhibit   Bates, AR, or ECF                  Document Title / Identifier
                Reference (where
 2                 applicable)
 3                                  Alleging Transfer of Credits Claims (dated Oct. 20,
                                    2016)
 4
        49       DOE7866–7879       Memorandum from Borrower Defense Unit to Under
 5                                  Secretary Ted Mitchell, Subject: Recommendation for
                                    Corinthian Borrowers Alleging That They Were
 6                                  Guaranteed Employment (dated Jan. 9, 2017)
 7      50       DOE9626–9630       Memorandum from Daniel Davis to Colleen Nevin,
                                    Subject: Borrower Defense Unit Investigation of EDMC
 8                                  Schools July 1, 2003 – December 31, 2008 (dated Aug.
                                    7, 2020)
 9
        51       DOE9519–9520       Memorandum from Alana Smith to Colleen Nevin,
10                                  Subject: Borrower Defense Unit Investigation of Anthem
                                    Education Group (dated June 1, 2020)
11
        52       DOE9550–9551       Memorandum from Michael Alonso to Colleen Nevin,
12                                  Subject: Career Education Corporation (CEC) n/k/a
                                    Perdoceo Education Corporation (PEC) (dated Dec. 2,
13
                                    2020)
14      53      DOE11331–11340      Initial Review of Medium Batch Applications: Keller
                                    Graduate School of Management (dated Apr. 3, 2020)
15
        54      DOE10774–10782      Initial Review of Medium Batch Applications: Empire
16                                  Beauty School (dated Aug. 24, 2020)
17      55      DOE10818–10825      Initial Review of Medium Batch Applications:
                                    Everglades University and Everglades College, d/b/a
18                                  Keiser University (dated July 6, 2020)
19      56      DOE12873–12877      Initial Review of Medium Batch Applications: Universal
                                    Technical Institute (dated May 5, 2020)
20
        57      DOE12673–12675      Initial Review of Medium Batch Applications: Suburban
21                                  Technical School (dated Aug. 27, 2020)

22      58         DOE10870         Florida Career College – Evidence Considered Protocol
        59              -           Assurance of Voluntary Compliance, In re State of Texas
23                                  & Career Education Corp., No. D-1-GN-19-000017
24                                  (Tex. Dist. Ct. Travis Cty., 353d Jud. Dist., Jan. 2, 2019),
                                    available at
25                                  https://www.texasattorneygeneral.gov/sites/default/files/
                                    images/admin/2019/Press/FINAL%20CEC%20AVC%20
26                                  attached%20to%20Petition%20wCauseNo.pdf
27

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     ELLIS DECLARATION                        6                  Case No.: 19-cv-03674-WHA
        Case 3:19-cv-03674-WHA          Document 245-5       Filed 06/09/22    Page 7 of 7



 1    Exhibit    Bates, AR, or ECF                     Document Title / Identifier
                 Reference (where
 2                  applicable)
 3      60           AR602–603          Press Release, U.S. Dep’t of Educ., “Secretary DeVos
                                        Approves New Methodology for Providing Student Loan
 4                                      Relief to Borrower Defense Applicants” (Dec. 10, 2019)
 5      61                 -            FRE 1006 Summary Exhibit: School-Specific
                                        Memoranda
 6
        62            ECF 108-8         Affidavit of Daniel Deegan (dated Aug. 12, 2020)
 7
        63           ECF 108-16         Affidavit of Yvette Colon (dated Aug. 13, 2020)
 8

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11
          Signed under the penalty of perjury on June 9, 2022.
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                                                                    /s/ Rebecca C. Ellis _
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                                                                    Rebecca C. Ellis, Esq.
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     ELLIS DECLARATION                            7                Case No.: 19-cv-03674-WHA
